 Case 19-17459-pmm                Doc 15-2 Filed 02/20/20 Entered 02/20/20 16:49:07         Desc
                                   Certificate of Service Page 1 of 2



                       IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                   :
 In re:                                            : Chapter 7
                                                   :
 MELISSA L. CECOLINI,                              : Case No. 19-17459-mdc
                                                   :
                                Debtor.            :
                                                   :

                                          CERTIFICATE OF SERVICE

          I, Michael D. Vagnoni, Esquire, attorney for Prudential Savings Bank, hereby certify that

on February 20, 2020, a true and correct copy of the Response in Opposition to Motion to Redeem

in the above captioned case was served electronically via the Court’s CM/ECF system or First

Class U.S. Mail upon the attached service list.



                                                        /s/ Michael D. Vagnoni
                                                        Michael D. Vagnoni, Esquire




OMC\4834-5129-4901.v1-2/20/20
 Case 19-17459-pmm              Doc 15-2 Filed 02/20/20 Entered 02/20/20 16:49:07   Desc
                                 Certificate of Service Page 2 of 2



                                          SERVICE LIST

Patrick J. Best, Esq.
patrick@armlawyers.com

United States Trustee
USTPRegion03.PH.ECF@usdoj.gov

Melissa L. Cecolini
4190 Heritage Lane
Walnutport, PA 18088




OMC\4834-5129-4901.v1-2/20/20
